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                                              September 18, 2023
Via E-filing
The Honorable Joel H. Slomsky, U.S.D.J.
13614 U.S. Courthouse
601 Market Street
Philadelphia, PA 19106


        Re:     Faggiolo v. County of Delaware, et al., E.D.Pa. 2:23-cv-01904
                My Files 4.21 and 27.5

Dear Senior Judge Slomsky:

        As you are aware the undersigned represents all of the defendants in the above referenced
matter. We are in receipt of your Honor’s Order scheduling argument on the various pending
motions for October 4, 2023 at 3:00 p.m. I wish to inform the Court that I already have a
mediation in a New Jersey state court matter at that time that involves multiple parties before the
Honorable Marc M. Baldwin J.S.C. ( Ret.) and would be very hard to reschedule or get someone
to cover for me.

       I reached out to the pro se Plaintiff in this matter to suggest that the hearing simply be
moved to the morning if that was possible, but he advised that he has family obligations that
would cause that to be problematic for him. Plaintiff has further advised that he would prefer that
the hearing not be delayed further if possible. See that he has family obligations in this morning,
I would like to propose that the hearing be moved either to the afternoon of either Monday,
October 2 of Tuesday, October 3 if this can be accommodated.

       Thank you for your courtesies in this regard. I am available if your scheduling clerk
needs to further discuss the calendaring of the argument.


                                              Very truly yours,

                                              /s/ Michael F. Schleigh
                                              Michael F. Schleigh, Esquire
MFS/arm
Cc: Alphonso Nicholas Faggiolo, via efiling alfadogmusic@gmail.com




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